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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
STEPHEN LOCURTO,
Petitioner,
-against-
10 Civ. 4589 (NGG)(JO)
UNITED STATES OF AMERICA,
Respondent.
Xx

PETITIONER’S SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF HIS
APPLICATION PURSUANT TO TITLE 28 UNITED STATES CODE
SECTION 2255.

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SECTION 2255.

A. Background & Procedural History

Petitioner was charged in Count One of a seventeen-Count superceding indictment of
Conspiracy to violate the Racketeering and Corrupt Organization Act (“RICO Act”), in violation
of violation of Title 18 U.S.C. § 1961(1), 1962, and 1963(a) et seq.

The overarching racketeering conspiracy, which encompassed the time period from 1985-
2003, charged Petitioner with three Racketeering Acts: (1) the Murder and Conspiracy to Murder
Joseph Platia in 1986; (2) a Conspiracy to Distribute Marijuana between 1991-1999; and (3) a
Conspiracy to distribute Ecstasy (MDMA) 1999.

Prior to trial the government, through defense counsel, offered Petitioner the opportunity
to dispose of the charges contained in the Indictment by pleading guilty to a number of the

Racketeering Acts charged therein in exchange for a specific sentence of twenty (20) years
imprisonment’. (See Exhibit “A”, Letter of AUSA Greg Andres, November 1, 2005).

Petitioner requested advice from his Counsel as to the benefits of accepting such a plea
offer as contrasted to the sentencing exposure he might face were he to decline the offer and be
convicted following trial. More specifically, Locurto requested advice concerning his potential
sentencing exposure were he to be convicted of Racketeering Act One, the murder of Joseph
Platia.’

In rendering this opinion of particular significance was the legal question presented by the
1988 amendment of the Criminal penalties provisions of the RICO Act contained in 18 U.S.C. §
1963(a). The 1988 amendment increased the statutory maximum penalty for the predicate
Racketeering Act of murder from 20 years to life imprisonment. The legal issue for which
Petitioner sought the advice of counsel in considering the government’s plea proposal was
whether the “1988 amendment to 18 U.S.C. 1963(a), which increased the penalty for violating
the statute from 20 years to life, could be applied to [the Joseph Platia] homicide that occurred in
1986, two years prior to the amendment”. (See Exhibit “B” Declaration of Laura A. Oppenheim,
Esq.).

Subsequent to the government’s plea offer of 20 years imprisonment both Mr. Batchelder

and Ms. Oppenheim met with Petitioner at the Metropolitan Detention Center. During this

'Petitioner was represented by Harry Batchelder, Esq., pursuant to the Criminal J ustice
Act. Sometime following his appointment Mr. Batchelder requested the assistance of Laura A.
Oppenheim, Esq., in defending Petitioner, with an emphasis on “any technical legal issues that
might arise during the case. (See Exhibit “B” Declaration of Laura A. Oppenheim, Esq., J 3).

2 Having been acquitted in a prior trial in State Court of the murder of Joseph Platia,
Petitioner was most focused upon the sentencing consequences of a federal conviction for this
offense.

No
meeting Ms. Oppenheim advised Mr. Locurto:
“(a) that in my opinion, applying the 1988 amendment to 18
U.S.C. § 1963(a) to a homicide which occurred in 1986 raised
an ex post facto issue because of the increased penalty provided
by the amendment; (b) that whether the offense was capped
at 20 years because of the ex post facto Clause was an
open question in the Second Circuit; and (3) that I believed
it likely he would prevail on that issue in the Court of Appeals
should he be convicted at trial”.
(See Exhibit “B” Declaration of Laura A. Oppenheim, Esq. (6).

The Declaration is therefore unambiguous in stating that counsel advised the Petitioner
that it was her legal opinion that the maximum sentencing exposure he faced were he to be
convicted of the murder of Joseph Platia was twenty years imprisonment.

Based upon this advice petitioner made a rational decision to reject the government’s plea
offer of a sentence of twenty years imprisonment, and proceed to trial. Petitioner did so in
reliance upon the advice of counsel that the maximum sentence he could receive were he to be
convicted of the murder of Joseph Platia was twenty years imprisonment. As Locurto states in
his affidavit in support of the petition:

“If [had known that there was no chance of me getting less
than life I would have taken the plea. Why would I take
a twenty year plea when I had nothing to lose. All I could
get is twenty years if I blew trial anyway.”
(See Exhibit “C” Affidavit Stephen Locurto {[ 9).
In making his decision to reject the government’s plea offer of twenty years
imprisonment Petitioner relied upon the specific legal opinion provided by his counsel that the

maximum sentencing exposure he faced were he to be convicted of the Platia murder was twenty

(20) years and not life imprisonment.
Following trial Petitioner was convicted of all three Racketeering Acts contained in
count One of the Indictment, including the 1986 murder of Joseph Platia. On February 20, 2007
Petitioner was sentenced by the Hon. Nicholas G. Garaufis to life imprisonment.

The conviction was affirmed by the Second Circuit Court of Appeals, United States v.

Amato, No. 06-5117-cr (L), 07-0712-cr (2™ Cir. January 12, 2009). His motion for rehearing en
banc was denied (April 27, 2009) and his petition for a writ of certiorari was denied by the
United States Supreme Court on April 27, 2009.

Petitioner filed the instant writ for a writ of habeas corpus pursuant to 28 U.C. § 2255
and pro se Memorandum of Law in Support on October 4, 2010. Subsequently the United

States Supreme Court granted certiorari in Lafler v. Cooper, 2011 U.S. LEXIS 10 (U.S. Jan. 7,

2011). The issues raised in Lafler were:

1. Is a state habeas petitioner entitled to relief where his counsel
deficiently advises him to reject a favorable plea bargain premised
upon erroneous legal advice and the defendant is later convicted
and sentenced to a significantly greater period of imprisonment
then that proffered in the rejected plea offer.

2. What remedy, if any, should be provided for ineffective assistance
of counsel during plea bargain negotiations if the defendant was
later convicted and sentenced pursuant to constitutionally

adequate procedures to a significantly greater sentence than

that contained in the rejected plea offer?

On June 3, 2011 Petitioner filed a motion seeking this court to stay the instant petition

and hold it in abeyance pending the outcome of Lafler v. Cooper, supra. By Order dated July 20,

2011 this Court granted petitioner’s application.

On March 21, 2012 the Supreme Court rendered it decision in Lafler v. Cooper, 132 S.

Ct. 1376 (2012) and a companion case Missouri v. Frye, 132 S$. Ct. 1389, 1407 (2012). In Erye,

supra. the Court held that the Sixth Amendment right to counsel extends to the plea bargaining
process stating the reality is that plea bargains have become so central to the administration of the
criminal justice system that defense counsel have responsibilities in the plea bargain process,
responsibilities that must be met to render the adequate assistance of counsel that he Sixth
Amendment requires in the process at critical stages. In the context of pleas a defendant must
show a reasonable possibility that the outcome of the plea process would have been different
with competent advice. Frey, ante at 1407.

The Court in LaFler v. Cooper, 132 S.Ct. 1376, (2012) held that where the ineffective

advice led to an offer’s rejection a defendant must show that but for the ineffective advice of
counsel there is a reasonable probability that the plea would have been presented to the court (i.e.
that the defendant would have accepted the plea and the prosecution would not have withdrawn it
in light of intervening circumstances) that the court would have accepted its terms, and that the
conviction, or sentence, or both, under the offers terms would have been less severe than under
the judgment and sentence that in fact were imposed. The court further held that where a
defendant shows ineffective assistance has caused the rejection of a plea leading to a more severe
sentence at trial, the remedy must “neutralize the taint” of the constitutional violation. Lafler,
ante 1376.

Subsequent to the decisions of Erye and Lafler the Court, at petitioner’s request,

appointed counsel pursuant to the Criminal Justice Act to assist him in presenting his petition.
The instant Memorandum of Law is submitted supplemental to petitioner’s initial filings.

B. Jurisdiction of the Court

The district court had jurisdiction herein pursuant to 18 U.S.C. §3221. The Court of
Appeals had jurisdiction pursuant to 28 U.S.C. § 1291. This Court has jurisdiction pursuant to
Article I, Section 9, clause 2 of the United States Constitution and 28 U.S.C. § 2255. See Jones
y. Cunningham, 371 U.S. 236, Rumsfeld v. Padilla, 159 L.Ed 2d 513 (2004).

C. Standard of Review

i. § 2255 and Ineffective Assistance of Counsel

“Section 2255 allows a federal prisoner to attack collaterally his sentence on the grounds
that it was “imposed in violation of the Constitution.” 28 U.S.C. § 2255(a). Because the Sixth
Amendment provides criminal defendants with the right to effective assistance of counsel,
inadequate representation is a basis for relief under section 2255.” Morales yv. United States, 635
F.3d 39, 42-43 (2™ Cir. 2011)(citing Strickland v. Washington, 466 U.S. 688, 686 (1984).

The Sixth Amendment right to counsel extends to the plea bargaining process. See

Missouri v. Frye, 132 S. Ct. 1389, 1407 (2012)(the reality is that plea bargains have become so

central to the administration of the criminal justice system that defense counsel have
responsibilities in the plea bargain process, responsibilities that must be met to render the
adequate assistance of counsel that he Sixth Amendment requires in the process at critical
stages). In today’s criminal justice system, therefore, the negotiation of a plea bargain, rather
than the unfolding of a trial is almost always the critical point for a defendant). Frey, supra 1407.
In order to succeed on an ineffective assistance of counsel claim, a petitioner must satisfy
a two prong test. Strickland v. Washington, 466 U.S. 688, 686)(1984). First, he must show that
“counsel’s performance was deficient,” that is, that “counsel made errors so serious that counsel
was not functioning as the “counsel” guaranteed by the Sixth Amendment,” ie. “that counsel’s

representation fell below an objective standard of reasonableness. Hill v. Lockhart, 474 U.S. 52,

58 (1985). Second, Petitioner must show that, “the deficient performance prejudiced the
defendant. To establish prejudice the defendant must show that there is a reasonable probability
that but for counsel’s unprofessional errors the result of the proceeding would have been
different. Id., at 694.

In the context of pleas a defendant must show a reasonable possibility that the outcome of
the plea process would have been different with competent advice. Frey, ante at 1407.

Where, as here, the ineffective advice led to an offer’s rejection a defendant must show
that but for the ineffective advice of counsel there is a reasonable probability that the plea would
have been presented to the court (i.e. that the defendant would have accepted the plea and the
prosecution would not have withdrawn it in light of intervening circumstances), that the court
would have accepted its terms, and that the conviction, or sentence, or both, under the offers
terms would have been less severe than under the judgment and sentence that in fact were

imposed. Lafler v. Cooper, 132 S.Ct. 1376 (2012).

ii. §2255 Hearing

Unless the motion and the files and records of the case conclusively show that the
prisoner is entitled to no relief, the court shall... grant a prompt hearing thereon, determine the
issues and make findings of fact and conclusions of law with respect thereto.” 28 U.S.C.
$2255(b). “To warrant a hearing on an ineffective assistance of counsel claim, the defendant
need establish only that he has a “plausible” claim of ineffective assistance of counsel, not that
“he will necessarily succeed on the claim.”

A hearing is appropriate to determine issues of fact and law relevant to a §2255 petition’s

claim of deficient advice regarding a plea offer where: (1) the petitioner, in a sworn statement,
asserts that he would have pleaded guilty if given sound advice, and (2) there is some objective
evidence, which may include significant sentencing disparity, that the petitioner in fact would

have pleaded guilty. Raysor v. United States, 647 F.3d 491, 495 (2™ Cir. 2011).

The issues to be resolved at such a hearing are:
(1) what would have been reasonable legal advice in the
circumstances; (11) whether original counsel gave such
advice; (iil) what the considered basis for original
counsel’s actions was; and (iv) whether “but for”
counsel’s alleged ineffectiveness [petitioner] would
have accepted the government’s plea offer and pled
guilty”.

Raysor, F.3d at 497.

D. ARGUMENT
i. FAILURE TO PROVIDE PROPER LEGAL ADVICE CONCERNING PLEA
To succeed in demonstrating ineffective assistance of counsel a Petitioner must
demonstrate two things (1) that counsel’s performance was unreasonably deficient under
prevailing professional standards, and (2) but for counsel’s unprofessional errors, there exists a
reasonable probability that the result would have been different. Strickland v. Washington, 466

U.S. 668, 687-688 (1984); See Strickland, at p.695 and United States v. Torres, 129 F.3d 710 (2"

Cir. 1997). The Petitioner must demonstrate that counsel’s representation fell below an objective

standard of reasonableness by a preponderance of the evidence. See Strickland, supra. at p.694.

As discussed in more detail below Petitioner satisfies each prong of Strickland’s

requirements.
a. Effectiveness During Plea Stage

Prior to trial an accused is entitled to rely upon his counsel to make an independent
examination of the facts, circumstances, pleadings and laws involved and then to offer his
informed opinion as to what plea should be entered. Boria v. Keane, 99 F.3d 492, 496 (2™ Cir.
1996). Petitioner alleges that prior counsel failed to provide such informed advice to him in any
meaningful manner.

The decision whether to plead guilty or contest a criminal charge is ordinarily the most
important single decision in any criminal case. Counsel may and must give the client the benefit

of counsel’s professional advice on this crucial decision. Boria v. Keane, supra at p. 496.

Effective assistance of counsel includes counsel’s informed opinion as to what pleas should be
entered.

The Model Rules of Professional Conduct, Rule 1.4(b) provides that a “lawyer shall
explain a matter to the extent reasonably necessary to permit the client to make informed
decisions regarding the representation”. When a plea offer is made “knowledge of the
comparative sentence exposure between standing trial and accepting a plea offer will be crucial

to the decision whether to plead guilty”. Purdy v. United States, 208 F.3d 41, 45 (2™ Cir 2000),

United States v. Gordon, 156 F.3d 376, 380 (2" Cir. 1998).

When a plea offer is made and there is reasonable probability that the defendant is
uncertain about the sentencing exposure he faces, whether or not he accepts the plea, a lawyer
unquestionably has a duty to inform his client of the sentencing exposure he faces if he accepts

the offer and if he does not. See Carron v. Smith, 644 F.Supp 2d, 452, 467 (Scheindlin, J.

S.D.N.Y. 2009).
Here, as was the case in Lefler v. Cooper, 132 S. Ct. 1376 petitioner, based upon clearly

erroneous advice provided by his legal counsel, rejected a plea agreement in detrimental reliance
upon that improper advice.

b. Counsel’s Advice With Respect to the Plea Offer Fell Below the Standard of Adequate
Assistance of Counsel Guaranteed by the Sixth Amendment

i. Factual Background

In the instant matter, Counsel was particularly ineffective by Sixth Amendment standards
in that they failed in a very significant way to advise Petitioner of the true sentencing exposure he
faced if convicted at trial. More significantly Counsel’s erroneous evaluation of Locurto’s
maximum exposure were he to be convicted of the Joseph Platia homicide was critical to
Petitioner’s decision to reject the government’s plea offer and proceed to trial.

Prior to trial the government conveyed a plea offer of 20 years imprisonment in
satisfaction of all charges, including the Joseph Platia homicide, contained in the Indictment.
Subsequent to the government conveying this offer both Mr. Batchelder and Ms. Oppenheim, the
legal team then representing him, met with Petitioner at the Metropolitan Detention Center to
amongst other thing discuss the plea offer.

Petitioner alleges that prior counsel failed to properly advise him of the ramifications of
sentencing if convicted. During this meeting Ms. Oppenheim advised Mr. Locurto:

“(a) that in my opinion, applying the 1988 amendment to 18
U.S.C. § 1963(a) to a homicide which occurred in 1986 raised
an ex post facto issue because of the increased penalty provided
by the amendment; (b) that whether the offense was capped

at 20 years because of the ex post facto Clause was an

open question in the Second Circuit; and (3) that I believed

it likely he would prevail on that issue in the Court of Appeals
should he convicted at trial”.

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(See Exhibit “B” Declaration of Laura A. Oppenheim, Esq. {[6).

Essentially when Petitioner was erroneously advised that his after trial maximum
sentencing exposure was 20 years imprisonment, he balanced that erroneous legal opinion
against a fixed plea sentence of the same duration and chose to go to trial and the possibility of
acquittal - or so he thought - with the knowledge that he could not receive any greater sentence if
convicted.

Based upon this advice petitioner made a rational decision to reject the government’s plea
offer of a sentence of twenty years imprisonment, and proceed to trial. Petitioner did so in
reliance upon the advice of counsel that the maximum sentence he could receive were he to be
convicted of the murder of Joseph Platia was twenty years, not mandatory life imprisonment.

ii. Relevant Law

That advice was plainly wrong. The law in this Circuit, was and remains well settled that
where, as here, an individual is charged with in a RICO conspiracy that “straddles” the 1988
amendment of 18 U.S.C. § 1963(a), there is no ex post facto violation in imposing a life

sentence. See United States v. Minicone, 960 F.2d 1099 (2" Cir. 1992).

An offense “straddles” the amendment when: (1) the charged RICO Conspiracy precedes
the amendment and continues thereafter; (2) the defendant is charged with a RICO predicate
Racketeering Act which is committed prior to the date of the amendment; and (3) there is
evidence that the defendant continued to participate in the racketeering enterprise subsequent to

the date of the amendment. See United States v. Minicone, 960 F.2d 1099, 1111 (2™ Cir. 1992).

The overarching conspiracy, charged in Count One of the indictment encompassed the

time period from 1985-2003, both before and after, i.e. “straddling” the amendment. It charged

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Locurto with three Racketeering Acts: (1) the Murder and Conspiracy to Murder Joseph Platia in
1986; (2) a Conspiracy to Distribute Marijuana between 1991-1999; and (3) a Conspiracy to
distribute Ecstasy (MDMA) in 1999. Therefore, on its face the Indictment met the definition of
“straddling” contained in Minicone, precluding any ex post facto violation in imposing a
mandatory life sentence were Locurto to be convicted of the Platia murder and either of the two
post amendment RICO acts.

Moreover, even were he not to be convicted of either of the two post amendment RICO
predicate acts, were the jury to determine by proof beyond a reasonable doubt that he continued
to participate in the RICO enterprise post-amendment, the ex post facto prohibition would
likewise have been inapplicable subjecting Locurto to a mandatory life sentence. See United.
States v. Firment, 296 F.3d 118, 121 (2™ Cir, 2002)(no ex post facto challenge lies where the
defendant continued to act after the effective date of the law being amended, even though the
particular crime challenged was committed prior to the passage of the amendment). See also

United States v. Monaco, 194 F.3d 381, 386 (2™ Cir 1999).

Each of these decisions reference United States v. Story, 891 F.2d 988, 994 (2 Cir

1989). In Story, Judge Newman discusses in detail the legislative history of the 1987
amendments to the Sentencing reform Act of 1984 as well as the amendment to the 18 U.S.C.
1963(a). In so doing the court both reiterates the principle of “straddling” offenses, as it relates
to Second Circuit precedent and holds that the doctrine applies to the 1988 amendment. See

United States v. Story, 891 F.2d 988, 991-92 ( citing United States v. Borrelli, 336 F.2d 376, 386

n. 5)(2™ Cir 1964), cert. denied, 379 U.S. 960(1965; United States v. Markham, 193 F.2d 574

(2 Cir. 1972; and Livolsi v. United States, 343 U.S. 979 (1952).

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In summary, minimal legal research by petitioner’s counsel would and should have led to
the discovery of these clear and widely cited precedents which directly and unambiguously hold
that the law in this Circuit, was and remains well settled that where an individual is charged in a
RICO conspiracy that “straddles” the 1988 amendment of 18 U.S.C. § 1963(a), there is no ex
post facto violation in imposing the enhanced sentence provided by the amendment. Here, a

mandatory life sentence. See United States v. Minicone, 960 F.2d 1099 (2" Cir. 1992).

There was no reasonable basis for counsel to have concluded that an ex post facto
challenge to a sentence of a sentence of mandatory life imprisonment were petitioner to be
convicted of the Platia homicide was an “open question” in the this Circuit. Nor, given the
government’s expected proof of Locurto’s participation in two post amendment RICO
predicate offenses, was there any likelihood that he could prevail on appeal were he to be
sentenced to life imprisonment.

iii. Analysis

As discussed above prior to trial the government, through defense counsel, offered
Petitioner the opportunity to dispose of the charges contained in the Indictment by pleading guilty
to a number of the Racketeering Acts charged therein in exchange for a sentence of twenty (20)
years imprisonment.

Petitioner requested advice from his Counsel as to the benefits of accepting such a plea
offer as contrasted to the sentencing exposure he might face were he to decline the offer and be
convicted following trial. More specifically, Locurto requested advice concerning his potential
sentencing exposure were he to be convicted of Racketeering Act One, the murder of Joseph

Platia. Crucial to that decision was the legal question of whether the “1988 amendment to 18

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U.S.C. 1963(a), which increased the penalty for violating the statute from 20 years to life, could
be applied to [the Joseph Platia] homicide that occurred in 1986, two years prior to the
amendment”. (See Exhibit “B” Declaration of Laura A. Oppenheim, Esq.).

As demonstrated above it is indisputable that prior counsel failed to properly advise him
of the ramifications of sentencing if convicted. Based upon this advice petitioner made a rational
decision to reject the government’s plea offer of a sentence of twenty years imprisonment, and
proceed to trial. Petitioner did so in reliance upon the advice of counsel that the maximum
sentence he could receive were he to be convicted of the murder of Joseph Platia was twenty
years imprisonment.

Petitioner submits that counsel’s representation fell below the objective standard of
reasonableness required pursuant to Strickland v. Washington, 466 U.S. 688 (1984) and Boria v.
Keane, 99 F. 3d 492 (2™ Cir. 1996). At the very least, in order to provide effective assistance,
Counsel should provide - and defendant should be able to rely upon - Counsel’s independent
examination of the facts and laws involved in the matter and rely upon that informed opinion as

to whether a guilty plea should be entered. Von Moltke v. Gilles, 332 U.S. 708, 721

(1948). Where, as here, well-intentioned though it may be, counsel gives seriously erroneous and
incorrect information concerning the potential sentencing exposures and, as a consequence, fails
to advise the defendant as to the advantages and disadvantages of an offered plea bargain, the
defendant has received ineffective assistance of counsel
ii. PREJUDICE
Where a plea bargain has been offered, a defendant has the right to effective assistance of

counsel in considering whether to accept it. If that right is denied, prejudice can be shown if loss

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of the plea opportunity led to a trial resulting in a conviction on more serious charges or the

imposition of a more severe sentence. See Lafler v. Missouri, 132 S. Ct. 1376 (2012).

The second Strickland prong requires a showing of prejudice which, in the Second
Circuit, requires “some objective evidence other than the defendant’s assertions”. Pham v.
United States, 317 F.3d 178, 182 (2™ Cir. 2003). Generally a defendant suffers prejudice if there
is a reasonable probability that this reliance upon counsel’s ineffective assistance affected the
outcome of the proceedings. A significant sentencing disparity in combination with defendant’s
statement of his intention to have pled guilty is sufficient to support a prejudice finding. United_

States v. Gordon, 156 F.3d 376, 381 (2™ Cir. 1998).

The Supreme Court has held that even a minimum amount of additional jail time may

constitute prejudice. Glover v. United States, 531 U.S. 198, 203 (2001)(increase from 6 to 21

months due to counsel’s error constituted prejudice required pursuant to Stickland). In Lafler v.
Cooper, the court concluded that the petitioner’s sentence, of 181 months which was 3 2 times
greater than the plea offer of 58 months imprisonment was clearly “ a significant disparity in
sentencing” sufficient to support an objective finding of Stickland prejudice. Lafler v.

Cooper, Id. Here the disparity between the plea offer - twenty years - and the sentence imposed -
life imprisonment - is stark. Clearly such is a “significant sentencing disparity”.

The petitioner herein rejected the government’s plea offer in reliance upon legal counsel’s
advice that his maximum sentencing exposure was the same twenty years imprisonment
presented in the plea offer. As stated in Petitioner’s Affidavit supporting this Petition:

“If [had known that there was no chance of me getting less

than life I would have taken the plea. Why would I take
a twenty year plea when I had nothing to lose. All I could

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get is twenty years if I blew trial anyway.”
(See Exhibit “C” Affidavit Stephen Locurto {[ 9).

Had Locurto been aware that he was indeed facing a mandatory life sentence, were he to
be convicted of the Joseph Platia homicide, his thinking concerning the disposition of the
Indictment by plea of guilt in return for fixed 20 year sentence would have been quite different.
Had counsel correctly advised Locurto in response to his specific inquiry that the law was well
settled in the Second Circuit that there was no ex post facto prohibition in sentencing him to a
mandatory life sentence if convicted of the murder of Joseph Platia, there is more than a
“reasonable probability” that Petitioner would taken a very different view of the plea proposal.

Indeed, as Locurto states in his Affidavit - “he would have taken the plea”.

In these circumstances to establish Strickland, supra, prejudice a defendant must show
that but for the ineffective advice of counsel there is a “reasonable probability” that the plea
would have been presented to the court (i.e. that the defendant would have accepted the plea and
the prosecution would not have withdrawn it in light of intervening circumstances) that the court
would have accepted its terms, and that the conviction, or sentence, or both, under the offers

terms would have been less severe than under the judgment and sentence that in fact were

imposed. Lafler v. Cooper, 132 S.Ct. 1376, (2012). Petitioner has presented to this Court such
objective evidence.

As required pursuant to the plea proposal made by the government in its letter of
November 1, 2005, a sufficient number of petitioner’s co-defendants agreed to accept the
government’s proposal and as a consequence the offer would have remained available had

petitioner agreed to accept it. The Court accepted each of petitioner’s co-defendants guilty pleas

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pursuant to the terms of the plea agreement which had been offered to they and the petitioner,
and each were later sentenced by the court in conformity with the plea agreement.

Given Petitioner’s assertion that he would have accepted the plea offer coupled with the
significant sentencing disparity there is clearly sufficient objective evidence to support the
conclusion that there is a reasonable probability that Locurto would have accepted the plea offer
if properly advised by prior counsel. Accordingly it is therefore submitted that Petitioner has
satisfied the prejudice prong of the Strickland test.

As discussed in more detail above it is submitted that prior counsel’s failure to
intelligently advise Petitioner of what course of conduct to follow constituted ineffective
assistance of counsel. Counsel, knowledgeable in the law of this Circuit, should have realized
that the law was clearly settled in this Circuit that the imposition of a life sentence were
petitioner to be convicted of the murder of Joseph Platia was mandatory. Therefore the offer to
dispose of the entirety of the Indictment against Petitioner by guilty plea and a sentence of 20
years was a beneficial offer, one that Petitioner should not have passed up for a trial where his
exposure was a mandatory life sentence.

“Defense counsel have a constitutional duty to give their clients professional advice on
the crucial decision of whether to accept a plea from the government” Pham v. United States, 317.
F.3d 178, 182 (2d Cir. 2003).

Petitioner asserts that Counsel erroneously advised him that the maximum sentence he
could receive if convicted of the murder of Joseph Platia was 20 years and not a mandatory life
sentence. As a consequence his attorneys never informed him that he should accept the

government’s plea offer of 20 years imprisonment, that such an offer was a good or beneficial

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offer or that he should accept the offer because proceeding to trial would be too dangerous.
Indeed, to the contrary, based upon counsel’s erroneous advice it was logical and rational for
petitioner to conclude that the government’s plea offer was not beneficial and that he stood
nothing to lose by proceeding to trial as a consequence of counsel’s erroneous advice that the
maximum sentence he could receive post-conviction was twenty years imprisonment.
It is therefore submitted that Petitioner was denied effective assistance of counsel.
iii. REMEDY

In Lafler v. Copper, supra, the Supreme Court was confronted with the issue of what the

appropriate remedy should be once a petitioner has demonstrated that ineffective assistance of

counsel has caused the rejection of a plea thereby leading to a trial and more severe sentence.
Addressing the issue Justice Kennedy states “Sixth Amendment remedies should be

tailored to the injury suffered from the constitutional violation and should not unnecessarily

infringe on competing interests”. Lafler, supra at 27

Where, as here, a plea agreement offer was for a guilty plea to a count or counts less
serious than the ones for which a defendant was convicted after trial, or if a mandatory sentence
confines a judges sentencing discretion after trial, a re-sentencing based upon the conviction at

trial may not suffice. Lafler, Id, citing Riggs v. Fairman, 399 F.3d 1179, 1181 (9" Cir. 2005).

Justice Kennedy continues:

“In these circumstances the proper exercise of discretion to remedy
the constitutional injury may be to require the prosecution to re-offer
the plea proposal. Once this occurred, the judge can then exercise
discretion in deciding whether to vacate the conviction from trial
and accept the plea or leave the conviction undisturbed...”.

Lafler at 27.

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In implementing a remedy the Court states the trial court must weight various factors.
Without fully setting forth these factors the Court provides sentencing courts guidance in
fashioning an appropriate remedy stating:

“Principles elaborated over time in decisions of state and federal
courts and in statutes and rules, will serve to give more complete
guidance as to the factors that should bear upon the exercise of the
judge’s discretion”. Id.

The court does notes two considerations of relevance. First, a court may take account of a
defendant’s earlier expressed willingness, or unwillingness, to accept responsibility for his or her
actions.

As noted above Locurto in his Affidavit makes clear that had he been appropriately
advised he would have accepted the plea offered. Indeed, he requested the specific advice
concerning his exposure in determining whether to accept the proffered guilty plea. It was
primarily as a consequence of his being misinformed by counsel that his maximum exposure
following trial was identical to the offer made by the government that he elected to forego the
plea offer and proceed to trial.

Second (although not necessarily a constitutional rule) the time continuum makes it
difficult to restore the defendant and the prosecution to the precise positions they occupied prior
to the rejection of the plea offer, but that baseline can be consulted in finding a remedy that does

not require the prosecution to incur the expense of conducting a new trial. Id at 28.

Here, as in Lafler petitioner has shown that but for counsel’s deficient performance there

is a reasonable probability that he and the trial court would have accepted the plea, and being

convicted at trial, petitioner received a sentence grossly disproportionate to that he would have

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received under the plea.

Therefore, as in Lafler the proper remedy in this circumstance is to Order the government
to re-offer the plea agreement. Because Petitioner stands ready to accept that plea offer, the court
can then exercise its discretion in determining whether to vacate the convictions and re-sentence
petitioner pursuant to the plea agreement.

CONCLUSION

PETITIONER WAS DEPRIVED OF EFFECTIVE ASSISTANCE OF COUNSEL
THE PETITION SHOULD BE GRANTED

Dated: Lake Success, New York
November 17, 2012

ALAN M. NELSON, ESQ. (3891AMN)
3000 Marcus Avenue, Suite [ES

Lake Success, New York 11042
(516)328-6200

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EXHIBIT “A”
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U.S. DepartmenYof Justice __ ‘

United States Attorney
Eastern District of New York

GDA:TM One Pierrepont Plaza
F#.2003R02533 Brooklyn, New York 11201

Mailing Address: 147 Pierrepont Street
Brooklyn, New York 1120]

November 1, 2005

By _ F. PF 1

Ronald Fischetti, Esq. (Att’y for L. Attanasio) -
Michael Rosen, Esq. (Att’y for P. Calabrese)
Lisa Scolari, Esq. (Att’y for J. DeSimone)

Alan Futerfas, Esq. (Atty for R. Attanagio)

ohn Wallenstein, Esq. (Att’y for M. Cardello)
Neil Checkman, Esq. (Att’y for FP. Cosoleto)
Harry C. Batchelder, dr. (Att‘y for LoCurto)
Flora Edwards, &8q. (Att’y for J. Palazzolo)
Joel Winograd, Esq. (Att’y for R. Riccardi)

Gail Laser, Esq. (Att’y for A. Basile)

Ronald Rubinstein, Esq. (Att‘’y for P. Romaneiloa)
Sarita Kedia, Esq. (Att’y for P. Roamanello)
Ronald Russo, Esq. (Att‘y for P. Romanelilo)

Re: United States v. Anthony Urso, et al.
riminal Doc 03- N

Dear Counsel:

The assigned prosecutors in this matter are prepared to
recommended to their supervisors that plea agreements be extended to
the following defendants which will recommend the following
sentences (provided these recommended sentences are consistent with
proposed charges under the applicable provisions of United_States
Sentencing Guidelines) . Please note that because the proposed
sentences listed below have not been approved by the Office, they'do
not constitute formal “offers.” To the extent that formal offers
are extended to include the terms below (again consistent with the
applicable Guidelines ranges), at least ten defendants must pled
guilty pursuant to these terms and all ten defendants must do so

before November 21, 2005.

P.@2/893

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Case 1: 10-ev-04589-NGG-JO Document 2 Filed 10/04/10 Page 27 of 30 PagelD #: 42

i No. | Defendant . Yarm of Incarceration
1 Louis Attanasio {20 Years
2. | Peter Calabrese 15 Years
3 Joseph DeSimone 15 Years
4 Robert Attanasio 10 Years
5 Michael Cardello 15 Years
6 Peter Cosoleto 15 Years
\ 7 Steven LoCurto 20' Years
8 John Palazzolo 15 Years
9 Richard Riccardi 15 Years
10 | Anthony Basile 15 Years
11 | Patrick Romanello 15 Years

To the extent counsel seeks to meet with the assigned |
po prosecutors with respect to this proposal, the government is
available to do so on Friday, November 11, 2005 at 1:00 p.m. on
the 19** Floor of the United States Attorney's Office. Please
indicate below whether you are available to meet on this date.

Greg D. Andres ;
Mitra Hormozi :
John Buretta

Assistant U.S. Attorneys
(718) 254-6273/6518/6314

Q [Name], Counsel for the defendant
will attend the meeting scheduled

for November 11, 2005.

O [Name], Counsel for the defendant .
will mot attend the meeting

scheduled for November 11, 2005. or /

2 . of

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«kK TOTAL PAGE.@3 xk | -
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EXHIBIT “B”
‘before this Court, with law offices at 260 Madison Avenue, 17th Fl, New York, New York

°F iCase E:10-ev-04589-(1GG-JO Document 2. Filed 10/04/10 .Page 18 of 30 PagelD #: 33

UW

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

STEPHEN LoCURTO,
Petitioner,

-against- DECLARATION

UNITED STATES OF AMERICA,

Respondent.

.STATE.OF.NEW- YORK ~~) 02-3. eee i ee

) ss.:
COUNTY OF NEW YORK )

LAURA A. OPPENHEIM, pursuant to 28 U.S.C. § 1746, hereby declares under penalty

of perjury:

1. I am an attorney duly admitted to practice law in the State of New York and

10016. I was previously of-counsel to Harry C. Batchelder, Jr., Mr. LoCurto’s trial counsel.

2. I submit this declaration at the request of Mr. LoCurto, in support of his pro-se §

2255 application.

3. It is my recollection, that sometime after being assigned to represent Mr. LoCurto,

~ ~~—"Nr, Batchelder contacted me and requested my. assistance defending Mr. LoCurto, with an _. oo ,

emphasis on helping researching motions and any technical legal issues that might arise during

the case.

4, One of this issues Mr. Batchelder needed researched was the question of whether

an 1988 amendment to 18 U.S.C. § 1963(a), which increased the penalty for violating the statute

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“ % “Case 1:10-cv-04589-NGG-JO Document 2 Filed 10/04/10 Page 19 of 30 PagelD #: 34

from 20-years to life, could be applied to a homicide that occurred in 1986, two years prior to the

amendment.

5. It was my opinion at the time that application of the increased penalty for a
homicide committed two years prior to the amendment would violate the ex post facto clause of
the Constitution.

6. Sometime thereafter, I attended a meeting with Mr. Batchelder and Mr. LoCurto

at the Metropolitan Detention Center (“MDC”) in Brooklyn. At that meeting, I advised Mr.

— 5 ae

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Locurto: (a) that j in my opinion, applying the 1988 amendment to 18 USC § 1963(a) toa

homicide which occurred in 1986 raised an ex post facto issue because of the increased penalty
provided by the amendment; (b) that whether the offense was capped at 20 years because of the
ex post facto Clause was an open question in the Second Circuit; and (c) that I believed it likely

he would prevail on that issue in the Court of Appeals should he be convicted at trial.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief. 28 U.S.C. § 1746. Executed June 2, 2010.

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aura A. Oppenhei my in /7/

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EXHIBIT “C”
Case 1:10-cv-04589-NGG-JO Document 2 Filed 10/04/10 Page 21 of 30 PagelD #: 36
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Xx
: Civil Case NO.
UNITED STATES OF AMERICA, :
Respondent, : Criminal Case No. 03-1382(S-1)
~against- : (NGG)
STEPHEN LOCURTO, AFFIDAVIT
Petitioner. ;

Sdn

STATE OF PENNSYLVANIA  )
Ss.

COUNTY OF UNION )
I, Stephen LoCurto, being duly sworn and under penalties iof

perjury, do hereby state as follows:

(1) I am the Petitioner in the above entitled case and as such

am familiar with the facts and circumstances of this case.

(2) Prior to trial, the government offered me a twenty (20)

year plea. See Exhibit C, Government's plea offer of 11/01/05.

(3) that some time after being offered the 20 year plea by the
government, who were represented by AUSA Greg D. Andres, I had a
meeting with Laura A. Oppenheim, Esq., and Harry Batchelder, Esq.,
at the Metropolitan Detention Center (MDC) in Brooklyn. At cthat
meeting, we all discussed the plea with Attorney Batchelder and I
paying close attention to Attorney Oppenheim as she explained her
research to us with emphasis on the ex post facto clause. She
advised me that applying the 1988 amendment of 18 U.S.C. § 1963(a)

to the 1986 alleged murder of Joseph Platia, raised an ex post facto

issue because of the increased penalty from 20 years, to life as
Case 1:10-cv-04589-NGG-JO Document 2 Filed 10/04/10 Page 22 of 30 PagelD #: 37
provided in the amendment; further, whether the 1986 homicide was
capped at 20 years because of the ex post facto problem, was an
open question in the Second Circuit; and lastly, it was likely that
I would prevail on that issue should I be convicted at trial; if

not at the district level, then in the Circuit.

(4) In a subsequent meeting, the first of many to follow, I
questioned Attorney Batchelder about Attorney Oppenheim's legal
research and presentation. "She knows what she is talking about",

said Attorney Batchelder.

(5) During yet another meeting with Attorney Batchelder, he
told me that the government offered me 6 years of jail credit which
comprised two federal racketeering acts I was convicted of: (1)
éonspiracy to distribute MDMA (ecstacy) in 00 Crim. 146 (RR), =>
sentence already served of fifteen (15) months and (2) conspiracy

to distribute marijuana in 02 Crim. 307 (NGG), sentence already

served of twenty-seven months. In addition, I would be entitled

to be credited for six (6) months that was credited to me for

erroneous time at Liberty granted by the Western District of
Pennsylvania, Magistrate Keith A. Pesto, in CV-01-336J and approved
by Chief United States District Court Judge D. Brooks Smith (same
case). Lastly, I would be entitled to be credited two (2) years in
State prison for the gun found on me in connection with the Platia
homicide which was used by the prosecution in New York indictment

# 3356/86. In response, I asked him "if the government would put
this in writing?", he said, "no, but if the government doesn't

object to it, it was likely that the judge would give it to me."

Still, in another meeting, I asked Attorney Batchelder "to make the

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government a counter offer of ten (10) years like other codefendants
were offered." Attorney Batchelder afterward approached the
government with my request, however, the government declined. When
I questioned him about declining, he said the government won't come

off the twenty years. I said, "Is this because that's all I can

get?" And Harry answered, "yes". As it turned out, all ten of my -

codefendants took the government's plea offer and the Court supported
the sentence recommended by the government in those pleas and in

some instances, the Court lowered the sentences.

(6) In subsequent discussions with Attorneys Oppenheim and

Batchelder, it was advised that if the government didn't offer me

a better plea than the max of 20 years, that I shouldn't take the
20 years.

(7) I discussed all the advice Attorneys Oppenheim and
Batchelder gave me with my family. The focus of our family dis-
cussion was that if the government is not going to offer me less
than 20 years, and after being advised by counsel on the plea, I

was convinced the most time I could get was 20 years, then I should

go to trial. It was the most difficult decision I ever had to make.

(8) Subsequent to reading the Second Circuit's Opinion
regarding the ex post facto issue, my family and I were devastated.
We did not prevail on the ex post facto issue on appeal.

(9) If I had known that there was no chance of me getting-less
than life I would have taken the plea. Why would I take a twenty
year plea when I had nothing to lose? All I could get is twenty

years if I blew trial anyway. Attorney Oppenheim even went on to
tell me that even if I'm acquitted of the homicide again due to the

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relevant conduct the judge will give me twenty years anyway. See
Exhibit D, Sentencing transcript, pp. 20-21. Attorney Oppenheim's
advice was the most important fact in why I chose to go to trial.

Further your affiant sayeth not.

I Stephen LoCurto hereby declare under penalty of perjury
pursuant to 28 U.S.C. § 1746 that the foregoing is true and correct

to the best of my knowledge iriformation and belief.

Dated: 7-LE-Yo dt LE

a A ao
Wt, Stephen’ LoCurto
1 Se Manager Reg. No. 58095~053
Authorized by the Act of July 7, U.S.P. Allenwood
1955, as amended to administer P.O. Box 3000
oaths (18 USC 4004) White Deer, PA 17887

Sworn to before me this

26" aay of September, 2010

U.S.P. Allenwood Case Manager
Authorized to Administer Oaths
